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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                         )
MICHAEL DARDASHTIAN, individually and on )                     Case No. 17 CV 4327 (LLS)
behalf of COOPER SQUARE VENTURES, LLC )
NDAP, LLC and CHANNEL REPLY, LLC         )
                   Plaintiffs,           )
                                         )                   NOTICE OF MOTION TO DISMISS
        -against-                        )                   PLAINTIFFS' COMPLAINT WITH
                                         )                   PREJUDICE PURSUANT TO
                                         )                   FED. R. CIV. P. 12(b)(1) and 12(b)(6)
DAVID GITMAN, JEREMY FALK, SUMMIT        )
ROCK HOLDINGS, LLC, ACCEL COMMERCE, )
LLC, DALVA VENTURES, LLC,                )                     ORAL ARGUMENT REQUESTED
KONSTANTYN BAGAIEV, OLESKSII             )
GLUKHAREV and CHANNEL REPLY, INC.,       )
                   Defendants.           )
                                         )


       PLEASE TAKE NOTICE that, upon the annexed Declaration of Mark D. Meredith,

Esq., dated July 14, 2017, and exhibits thereto, the accompanying memorandum of law, and all

prior pleadings in this matter, defendants David Gitman, Accel Commerce, LLC, Dalva

Ventures, LLC, and Channel Reply, Inc. will move this Court in the Southern District of New

York, County of New York, at the Courthouse located at 500 Pearl Street, New York, New York

10007 for an Order dismissing plaintiff's verified complaint in its entirety and with prejudice

pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6).

Date: July 14, 2017                                  DENTONS US LLP


                                                     By: /s/ Brian S. Cousin_________
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                                                        Mark D. Meredith, Esq.
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                                                Ventures, LLC, and Channel Reply, Inc.




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